             Case 1:18-cr-00834-PAE Document 558
                                             559 Filed 10/16/20
                                                       10/19/20 Page 1 of 2
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                                                    October 16, 2020

       VIA ECF and E-MAIL

       The Honorable Paul A. Engelmayer
       United States District Judge
       Southern District of New York
       Thurgood Marshall United States Courthouse
       40 Foley Square
       New York, New York 10007

       RE:    United States v. Anthony Ellison
              18 Cr. 834 (PAE)

       Dear Judge Engelmayer:

               We represent Mr. Anthony Ellison in the above listed matter currently pending
       before this Court. Sentencing has been scheduled for October 22, 2020. The defense
       respectfully requests that the Court allow the use of electronic devices with WI-FI access
       as set forth by SDNY Standing Order M10-468. The defense intends to use the devices
       during the sentencing to access all of the case materials which are voluminous. A copy of
       a proposed order has been submitted to the Court as part of this application.

                                                    Respectfully submitted,

                                            By:     /s/ Deveraux L. Cannick
                                                    Attorney for Anthony Ellison
                                                    Aiello & Cannick
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GRANTED. The Clerk of Court is requested to terminate the motion at Dkt. No. 558.

                                                                                      10/19/20
                                                  SO ORDERED.

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                                                                    PAUL A. ENGELMAYER
                                                                    United States District Judge
